                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF ILLINOIS

KENNETH HOUCK,                            )
                                          )
                     Plaintiff,           )
                                          )
vs.                                       )          Case No. 3:16-cv-1396-JPG-GCS
                                          )
JOHN DOE 1,                               )
JOHN DOE 2,                               )
RONALD LANG,                              )
R. PATRICK COOK,                          )
JENNIFER WEBER,                           )
MARK DELOIA,                              )
BRIAN MEADE, and                          )
TAMMY CASTELLANO,                         )
                                          )
                     Defendants.          )

                        REPORT & RECOMMENDATION

SISON, Magistrate Judge:

      As limited by this Court’s threshold order (Doc. 14), Plaintiff Kenneth Houck

alleges that, based on his status as a homosexual person, Defendants restricted his

access to publications and other materials that heterosexual inmates are allowed in

violation of his Fifth Amendment rights (Count 1). He also alleges that Defendants

prevented him from writing to or soliciting correspondence from pen pals, from

possessing certain photographs and from accessing certain written materials in

violation of his First Amendment rights (Count 4).

      Before the Court is a motion to dismiss for lack of subject matter jurisdiction

filed by Defendants (Doc. 38). Magistrate Judge Donald G. Wilkerson previously

considered the motion and issued a Report & Recommendation recommending that




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the motion be granted. (Doc. 44). District Judge J. Phil Gilbert adopted in part and

rejected in part the recommendation and referred the motion back to the magistrate

judge for recruitment of counsel for Plaintiff and additional briefing. The matter is

now fully briefed and has been referred to the undersigned pursuant to 28 U.S.C. §

636(b)(1), Federal Rule of Civil Procedure 72(b) and Local Rule 72.1(a)(2). For the

reasons delineated below, it is RECOMMENDED that the Court grant Defendants’

motion to dismiss.

                              I.    FINDINGS OF FACT

      Houck was convicted of a federal sex offense and incarcerated by the Bureau

of Prisons at the United States Penitentiary in Marion, Illinois, beginning on August

15, 2015. He brought this action for alleged violations of his constitutional and

statutory rights related to an individual Correctional Management Plan (“CMP”)

imposed upon him by the Sex-Offender Management Program (“SOMP”) at the

prison. (Doc. 1). Following threshold review conducted pursuant to 28 U.S.C. § 1915A,

Houck was permitted to proceed on two claims brought under the implied cause of

action theory recognized in Bivens v. Six Unknown Named Agents of Federal Bureau

of Narcotics, 403 U.S. 388 (1971). (Doc. 14). In Count 1, Houck alleges that

Defendants violated his Fifth Amendment equal protection and due process rights by

including improper information in his CMP that singled him out for differential

treatment based on his status as a homosexual person and by using the CMP to

restrict his access to publications and other materials that heterosexual inmates are

allowed to possess. Id. In Count 4, Houck alleges that Defendants violated his First




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Amendment rights to free speech and association by preventing him from writing to

or soliciting correspondence with pen pals, possessing certain photographs or

accessing certain written material. Id.

      On August 24, 2017, Defendants filed a motion to dismiss for lack of subject

matter jurisdiction (Doc. 38) pursuant to the Supreme Court’s ruling in Ziglar v.

Abbasi, 137 S.Ct. 1843 (2017), in which the Court cautioned against expansion of

Bivens remedies. Defendants requested that the Court re-examine its screening

order. (Doc. 38, p. 2). On March 22, 2018, Magistrate Judge Wilkerson entered a

Report and Recommendation that recommended that Defendants’ motion to dismiss

be granted. On May 9, 2018, Judge Gilbert adopted in part and rejected in part the

Report. He directed that counsel be appointed for Houck and that counsel brief the

issues raised by the United States. (Doc. 54). Appointed counsel filed a response on

Houck’s behalf (Doc. 61) and the United States filed a reply brief (Doc. 62). As such,

the motion by the United States is ripe for ruling.

                               II.   LEGAL STANDARDS

      Defendants facially challenge Houck’s complaint for lack of subject matter

jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1).       Rule 12(b)(1)

operates similarly to Rule 12(b)(6) for purposes of evaluating the sufficiency of a

complaint. See Bultasa Buddhist Temple of Chicago v, Nielsen, 878 F.3d 570, 573

(7th Cir. 2017). In considering a motion to dismiss, the Court accepts as true all well-

pleaded allegations in the complaint and draws all possible inferences in favor of the

plaintiff. See Killingsworth v. HSBC Bank Nevada, N.A., 507 F.3d 614, 618 (7th Cir.




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2007). A plaintiff need not set out all relevant facts or recite the law in his or her

complaint; however, the plaintiff must provide a short and plain statement that

shows he or she is entitled to relief. See FED. R. CIV. P. 8(a)(2). Thus, a complaint will

not be dismissed if it “contain[s] sufficient factual matter, accepted as true, to ‘state

a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 679

(2009)(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim

has a facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Iqbal, 556 U.S. at 678. Additionally, “[a]llegations of a pro se complaint are

held to ‘less stringent standards than formal pleadings drafted by lawyers . . .

Accordingly, pro se complaints are liberally construed.” Alvarado v. Litscher, 267 F.3d

648, 651 (7th Cir. 2001)(quoting Haines v. Kerner, 404 U.S. 519, 520 (1972))(other

citations omitted).

                              III.   CONCLUSIONS OF LAW

      The issue before the Court is whether Houck’s Bivens claims are barred based

on the Supreme Court’s recent decision in Ziglar v. Abbasi, 137 S.Ct. 1843 (2017).

Defendants argue that the Court should dismiss Houck’s First and Fifth Amendment

claims for lack of subject matter jurisdiction.

      In Ziglar, the Supreme Court reviewed the implied cause of action under

Bivens and the framework for determining whether a Bivens remedy should be

extended to a particular claim. See Ziglar, 137 S.Ct. at 1859-60. The Court set out a

two-part test for determining whether a Bivens claims could proceed. Id. First, a court




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must determine whether the case is “different in a meaningful way from previous

Bivens cases” so as to present a new context. Id. at 1859. If the case does present a

new context, then courts should evaluate whether there are “special factors that

previous Bivens cases did not consider” before allowing a new damages suit to

proceed. Id. at 1860.

A.    New Context

      The Supreme Court in Ziglar asserted that a case would present a new Bivens

context if it was meaningfully different from the cases previously decided by that

Court. See Ziglar, 137 S.Ct. at 1859. The three types of cases in which a Bivens

remedy has been recognized include: (1) a Fourth Amendment case against federal

officers for unreasonable search and seizure when they arrested a man without a

warrant, Bivens, 403 U.S. 388 (1971); (2) a Fifth Amendment gender discrimination

claim by a woman whose federal employment was terminated by a congressman,

Davis v. Passman, 442 U.S. 228 (1979); and (3) an Eighth Amendment deliberate

indifference claim brought by a federal inmate’s estate claiming that his asthma was

not treated adequately, Carlson v. Green, 446 U.S. 14 (1980). To analyze whether a

case would be considered meaningfully different, the Court provided a non-

exhaustive list of possible considerations, including the “constitutional right at issue,”

“the extent of judicial guidance as to how an officer should respond to the problem or

emergency to be confronted,” and “the risk of disruptive intrusion by the Judiciary

into the functioning of other branches.” Ziglar, 137 S.Ct. at 1860.




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      Defendants argue that an equal protection and due process claim by a prisoner

alleging that he was singled-out for differential treatment based on his sexual

orientation is a new Bivens context. (Doc. 38, p. 8). They differentiate Houck’s claims

from those in Carlson because he brings his challenge under the Fifth Amendment

instead of the Eighth Amendment. Id. Defendants also argue that a claim of violation

of free speech and free association rights by a prisoner claiming he was prevented

from writing to and soliciting certain correspondence from pen pals, possessing

certain photographs or accessing certain legal material is a new Bivens context. (Doc.

38, p. 12). They reason that the Supreme Court has never extended Bivens to First

Amendment claims and additional factors do not warrant making this extension. Id.

      Houck argues that his claims should be characterized as Eighth Amendment

claims rather than the First and Fifth Amendment claims, as laid out in the Court’s

threshold order. (Doc. 61, p. 1). When interpreted as Eighth Amendment claims, he

argues, no new context exists under Bivens. Id. Despite attempts by counsel to alter

the nature of the rights asserted, the claims in this case are strictly First and Fifth

Amendment claims. In his initial complaint, Houck brought Eighth Amendment

claims, namely in Counts 7, 11, 14 and 15. (Doc. 1, pgs. 28-30). Pursuant to 28 U.S.C.

§ 1915A, the Court must screen prisoner complaints to filter out non-meritorious

claims. Further, the Court is required to construe liberally a pro se complaint. See

Arnett v. Webster, 658 F.3d 742, 751 (7th Cir. 2011); Rodriguez v. Plymouth

Ambulance Serv., 577 F.3d 816, 821 (7th Cir. 2009).




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      In liberally construing Houck’s complaint and screening out the non-

meritorious claims, the Court concluded that Houck brought a claim under Counts 1

and 4, which implicate only the Fifth and First Amendments. (Doc. 14, pgs. 9-10).

Furthermore, although Judge Gilbert reserved ruling on the merits of the Report and

Recommendation (Doc. 44), he observed that it did not suffer from any “obvious flaws”

and recognized Houck’s claims as arising under the Fifth and First Amendments.

(Doc. 54).

      1. First Amendment Claim

      Houck’s First Amendment claim is meaningfully different from the Supreme

Court’s previous cases. Houck alleges a violation of his First Amendment rights to

free speech and association because he was prevented from writing to or soliciting

correspondence with pen pals, possessing certain photographs and accessing certain

written material. Compared with the core Bivens actions, Houck’s First Amendment

claim is dissimilar, as it implicates a different constitutional right. Although the

Supreme Court has assumed, without deciding, that a First Amendment action

exists, it has “never implied a Bivens action under any clause of the First

Amendment.” Vanderklok v. United States, 868 F.3d 189, 198 (3rd Cir. 2017). See

also Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009)(stating that “[f]or while we have

allowed a Bivens action to redress a violation of . . . the Due Process Clause of the

Fifth Amendment . . . we have not found an implied damages remedy under the Free

Exercise Clause.”); Bush v. Lucas, 462 U.S. 367 (1983)(declining to extend Bivens to

a First Amendment claim). But see King v. Federal Bureau of Prisons, 415 F.3d 634




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(7th Cir. 2005)(permitting a similar First Amendment claim, refusal of the prison to

provide books, without commenting on Bivens). Furthermore, since the Ziglar

decision, courts in this district and elsewhere have consistently declined to create a

Bivens remedy for alleged First Amendment violations in the prison context. See, e.g.,

Borowski v. Baird, No. 16-cv-848-JPG-SCW, 2018 WL 6583976 (S.D. Ill. Dec. 14,

2018); White v. Inch, No. 17-cv-1059-JPG-DGW, 2018 WL 6584899 (S.D. Ill. Dec. 14,

2018); Vega v. United States, 881 F.3d 1146 (9th Cir. 2018).

      Additionally, the First Amendment claim in this matter is meaningfully

different because the restrictions were imposed upon Houck due to the unique

circumstances of his conviction and his classification as a sex offender. In the

classification of inmates, “Congress has given federal prison officials full discretion to

control [the] conditions of confinement.” Moody v. Daggett, 429 U.S. 78, 88 n.9 (1976).

Additionally, when a prison regulation impinges on inmates’ constitutional rights,

the regulation is valid if it is reasonably related to legitimate penological interests.

See Turner v. Safley, 482 U.S. 78, 89 (1987). The Supreme Court has stated, for

example, that sex offender treatment programs do serve a “vital penological

purpose[.]” McKume v. Lile, 536 U.S. 24, 29, 33 (2002).

      Therefore, based on the constitutional right at issue, consistent with the

conclusions of other courts considering the same, and based on the unique nature of

the challenged conduct in Count 4, Houck’s First Amendment claim in this action

raises a “new context” for a Bivens action.




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       2. Fifth Amendment Claim

       Houck’s Fifth Amendment claim is meaningfully different from the core Bivens

actions as well. Here, Houck claims a violation of his Fifth Amendment equal

protection and due process rights founded upon discrimination on account of his

sexual orientation. Although it is possible to construe his claim as similar in certain

ways to the core Bivens actions found in Davis v. Passman, 442 U.S. 228 (1979) and

Carlson v. Green, 446 U.S. 14 (1980), further analysis shows that the differences

overshadow any similarities.

       Houck’s case is similar to Davis in that he is also alleging that his Fifth

Amendment rights have been directly violated by Defendants’ discriminatory

conduct. The conduct about which he complains included the allegedly unjustifiable

alteration of his CMP, verbal harassment and disciplinary action on the basis of his

sexuality. In his complaint, Houck alleges that his attempts to engage in

communication with male pen-pals (Doc. 1, p. 17) and his possession of non-

pornographic pictures of male models (Doc. 1, pgs. 21-24) were violations of his

treatment in the Sex Offender Management Program, despite not being directly

related to his conviction (Doc. 1, p. 15). This discriminatory conduct, Houck argues,

was evidenced further by the Defendants’ confiscation of the pictures and their

decision to pursue disciplinary action while making homophobic comments to Houck.

(Doc. 1, p. 21).

       However, Houck’s claim is distinct in several crucial ways. While Davis

considered employment discrimination based on gender, this claim involves




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harassment and disparate treatment based on sexual orientation in a prison context.

Although both situations involve discrimination in violation of the Fifth Amendment,

the parties’ relationships, the unrelated contexts in which the situations arose and

the specific types of discrimination alleged make Houck’s claim dissimilar.

Additionally, the Supreme Court’s concern about “the extent of judicial guidance as

to how an officer should respond to [a] problem . . . to be confronted” is implicated

because of the discretionary nature of the classifications of inmates. See supra, Moody

v. Daggett, 429 U.S. 78, 88 n.9 (1976)(stating that “Congress has given federal prison

officials full discretion to control [the] conditions of confinement.”) As a result,

Houck’s claim is meaningfully different from the core Bivens action at issue in Davis.

      Houck’s case could also be viewed as similar to Carlson in that his allegations

parallel the law considering verbal harassment under the Eighth Amendment in the

Bivens context. Houck alleges that a prison official “spread rumors to his staff” that

Houck was gay and was “caught having ‘naked’ guy pictures in his possession,”

placing him at risk for sexual assault and sexual harassment. (Doc. 1, p. 15). He also

alleges that two correctional officers asked Houck, “was the rumors true,” and asked

if he was “that way” in front of other inmates. Id.

      To succeed on an Eighth Amendment claim, a plaintiff must show the

conditions posed a “substantial risk of serious harm” and that defendants were

deliberately indifferent to that risk. Farmer v. Brennan, 511 U.S. 825, 834 (1994).

Although many Eighth Amendment cases involve physical injury, the Seventh

Circuit has noted that drawing a “categorical distinction between verbal and physical




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harassment is arbitrary[.]” Beal v. Foster, 803 F.3d 356, 357 (7th Cir. 2015). In Beal,

the Court indicated that purely verbal harassment constituted cruel and unusual

punishment only when the harassment threatens physical assault or causes severe

psychological harm. Id. at 357-359. Further, the Court took into consideration the

fact that the plaintiff conceivably feared that a prison guard’s comments labeling him

a “homosexual . . . increased the likelihood of sexual assaults on him by other

inmates.” Id. at 358.

      Along with the comments allegedly made by prison officials, the Defendants

acknowledge that an extensive study by Congress identified sexual orientation as “a

factor that is pertinent to whether an inmate is at risk of sexual victimization.” (Doc.

38). Therefore, the behaviors and statements of the prison officials, which allegedly

revealed sensitive information about Houck’s sexuality to other inmates and officials,

could be seen as rising to the level of harassment threatening physical assault and/or

causing severe psychological harm.

      Despite these parallels, a key consideration makes Houck’s claim incompatible

with the Eighth Amendment claim in Carlson. The Supreme Court in Ziglar analyzed

whether Fifth Amendment claims could be classified as Eighth Amendment claims

in determining whether there was a new context. See Ziglar, 137 S.Ct. at 1864. The

Court stated that “even a modest extension is still an extension” and found that the

case presented a “new context for Bivens purposes [because] it implicate[d] a different

constitutional right.” Id. Houck’s request to bring his Fifth Amendment claim under

the Eighth Amendment is strikingly similar to the argument made in Ziglar, and the




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Supreme Court’s analysis and denial of this argument is unambiguous. Thus,

Plaintiff’s Fifth Amendment claim in this action raises a “new context” for a Bivens

action.

B.    Special Factors

      Because the undersigned concludes that Houck’s First and Fifth Amendment

claims bring about new contexts for Bivens claims, the Court must determine if there

are “special factors counseling hesitation before authorizing a new kind of federal

litigation.” Ziglar, 137 S.Ct. at 1858. An inquiry of “special factors” requires a court

to determine “whether the Judiciary is well suited, absent congressional action or

instruction, to consider and weigh the costs and benefits of allowing a damages action

to proceed.” Id. at 1857-58. The Ziglar Court indicated that special factors to consider

may include: the impact of a damages remedy on governmental operations, respecting

the role of Congress in determining federal-court jurisdiction and whether there is an

alternative remedial structure present. Id. at 1858. Further, the Court stated that

the presence of an alternative remedial structure “alone may limit the power of the

Judiciary to infer a new Bivens cause of action.” Id. Because both of Houck’s claims

present new Bivens contexts, this Court must inquire into the special factors to

determine whether or not to expand a Bivens remedy to Houck’s claims.

      The existence of alternative remedies counsels against expansion of Bivens in

this case. Alternative remedial structures can take many forms, including

administrative, statutory, equitable and state law remedies. See Vega v. United

States, 881 F.3d 1146, 1154 (9th Cir. 2018). Here, such remedies are available and




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include: (1) injunctive relief, 18 U.S.C. § 3626; (2) the Bureau of Prison’s

administrative remedies program which Plaintiff must follow in accordance with the

Prison Litigation Reform Act (PLRA), 42 U.S.C. § 1997e(a); (3) declaratory judgment,

28 U.S.C. §§ 2201-2202; and (4) a claim under the Prison Rape Elimination Act

(PREA) to prevent abuse and harassment, 42 U.S.C. §§ 15601-15609. While none of

these alternative remedies allow for money damages and most do not permit Plaintiff

to file a lawsuit in order to vindicate his constitutional rights, Plaintiff may also bring

a claim for money damages pursuant to the Federal Tort Claims Act, 28 U.S.C. §§

1346, 2671-2680, for any injuries that he sustained as the result of Defendants’

alleged actions. Plaintiff is not without some recourse to address his concerns and,

therefore, this Court concludes he does have alternative remedies to address his free

speech claims.

      In addition to the existence of alternative remedies, legislative action suggests

Congress chose not to provide a damages remedy for certain violations. Following the

Court’s decisions creating one of the core Bivens actions, Congress enacted the PLRA,

making significant changes to how prisoner abuse claims could be brought in federal

court. See Ziglar, 137 S.Ct. at 1865. Congress decided to make substantial

modifications to the process and, yet, chose not to provide a damage remedies, which

suggests that Congress “doubt[ed] the efficacy or necessity of a damages remedy as

part of the system for enforcing the law and correcting a wrong[.]” Congress’s decision

demands respect by the courts. Id. at 1858. For these reasons, the Court finds that




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the special factors in this case dictate not expanding the Bivens remedy to these new

contexts.

C.    John Doe Defendants

      There are two John Doe defendants in this case who have not been identified

or served and, therefore, they have not joined in the Defendants’ motion to dismiss.

However, the same reasons that the claim should be dismissed as to the named

Defendants also apply to the John Doe defendants, making finding and identifying

these defendants futile. Therefore, it is appropriate to dismiss the Houck’s claims

against the John Doe Defendants for the above-described reasons.

                                 IV.     CONCLUSION

      For the above-stated reasons, it is RECOMMENDED that the Court GRANT

Defendants’ motion to dismiss. It is further RECOMMENDED that the Court

DISMISS Houck’s claims against the John Doe defendants, as his claims against the

unnamed defendants similarly fail. The undersigned RECOMMENDS that the Court

DISMISS with prejudice this action for lack of subject matter jurisdiction.

      Pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 73.1(b), the parties may object

to any or all of the proposed dispositive findings in this Recommendation. The failure

to file a timely objection may result in the waiver of the right to challenge this

Recommendation before either the District Court or the Seventh Circuit Court of

Appeals. See, e.g., Snyder v. Nolen, 380 F.3d 279, 284 (7th Cir. 2004). Accordingly,

objections to this Report and Recommendation must be filed on or before Friday,

October 4, 2019.




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IT IS SO ORDERED.                                           Digitally signed by
                                                            Magistrate Judge
                                                            Gilbert C. Sison
Dated: September 17, 2019.
                                                            Date: 2019.09.17
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                                             ______________________________
                                             GILBERT C. SISON
                                             United States Magistrate Judge




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